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April 25, 2025


VIA ECF
Hon. Alvin K. Hellerstein
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007


Re:     United States v. Charlie Javice and Olivier Amar, 23 Cr. 251 (AKH)

Dear Judge Hellerstein:

       Ms. Javice attaches here as exhibits A, B, and C the demonstratives shown in closing by
each the government, Ms. Javice, and Mr. Amar, respectively.1



                                                                 Respectfully submitted,

                                                                 /s/ Sara C. Clark
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cc:     All Counsel of Record


1
  Ms. Javice understands Ex. C to be counsel’s best recollection as to what was shown during
Mr. Amar’s closing argument.

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